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                                   STATEMENT OF FACTS

        Your affiant, John W. Smith, is a Special Agent with the Federal Bureau of Investigation
(“FBI”) assigned to the Denver Division. In my duties as a Special Agent, I investigate criminal
violations relating to terrorism, civil rights, and online threat communications. Currently, I am
tasked with investigating criminal activity in and around the Capitol grounds on January 6, 2021.
As a Special Agent, I am authorized by law or by a government agency to engage in or supervise
the prevention, detection, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
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                         FACTS SPECFIC TO JUSTIN R. SCHULZE
        After January 6, 2021, two separate persons, (TIPSTER 1 and TIPSTER 2) provided
information to the FBI that an individual, identified as JUSTIN R. SCHULZE, participated in the
events at the U.S. Capitol on January 6, 2021. TIPSTER 1 was interviewed in person by the FBI
on May 28, 2021, and again on July 20, 2021. TIPSTER 2 provided an online tip to the FBI on
January 16, 2021, and was interviewed on June 3, 2021, and September 22, 2021. The TIPSTERS
did not refer to each other and it is unknown whether they are aware of each other.
        TIPSTER 1 traveled with a group from Colorado to Washington, D.C. to attend President
Trump’s speech on January 6, 2021. The leader of their group was ERIC ZEIS and they travelled
in his van. Another member of the group, whose last name he/she did not know, was JUSTIN.
During the July 20, 2021, interview with the FBI, TIPSTER 1 reviewed the Colorado Driver’s
License photo of JUSTIN R. SCHULZE and confirmed the person pictured is the JUSTIN being
referenced. TIPSTER 1 elaborated that ZEIS and SCHULZE had been friends for many years.
According to TIPSTER 1, on the night of January 6, 2021, SCHULZE claimed he and ZEIS had
entered the U.S. Capitol earlier that day.
        Over the course of the investigation, Capitol Police closed circuit TV (CCTV) and open-
source media were reviewed. In the CCTV and open sources, SCHULZE can be seen wearing a
jean jacket with a fur collar, a red Hawaiian shirt, grey knit hat, and black gator. ZEIS can be seen
wearing a black jacket with a black hood (often pulled up), red backpack, and sunglasses.
       An open source revealed that SCHULZE and ZEIS attended the “Stop the Steal” Rally
before walking to the Capitol. Below is a still (Image 1) of SCHULZE (yellow circle) at the rally.




                                              Image 1
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SCHULZE (yellow circle) and ZEIS (blue circle) traveled from the Rally to the Capitol grounds,
stopping in front of the Department of Justice on their way as seen in Image 2 below:




                                          Image 2
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SCHULZE and ZEIS spent time on the west side of the Capitol before going to the East side.
Below SCHULZE and ZEIS are seen near the media tower erected in front of the Inaugural Stage
(Image 3):




                                         Image 3
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       On the East side of the Capitol grounds, ZEIS and SCHULZE joined a large group that
forced officers from the United States Capitol Police (USCP) to retreat to the East Rotunda doors.
In Image 4, ZEIS’, wearing his backpack, can be seen above SCHULZE’s jacket, hat, and gator
(green box).




                                            Image 4
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      ZEIS and SCHULZE (green box) positioned themselves in a large group, outside the East
Rotunda doors, that pushed against USCP officers to get inside. USCP officers made numerous
commands for the crowd to stop and deployed OC spray to no avail. Members of the mob chanted
“Stop the Steal!” and “Our house!” as rioters banged on the glass windows. SHULZE’s gator and
hat and ZEIS’ sunglasses and hood can be seen in Image 5 below.




                                          Image 5
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        At approximately 2:25 p.m., the Rotunda door was successfully breeched. Your affiant
reviewed the January 6, 2021, surveillance camera footage from inside the U.S. Capitol
SCHULZE was observed entering the U.S. Capitol at approximately 2:26 p.m. ZEIS was pinned
against the closed door that has visible damage to the window (Image 6). ZEIS was able to
successfully force himself inside. SCHULZE was right behind ZEIS’ entrance (Image 6 and
Image 7).




                                          Image 6
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                            Image 7
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       Your affiant was able to track most of SCHULZE’s movements inside the U.S. Capitol by
reviewing CCTV. SCHULZE and ZEIS made their way to varying parts of the Capitol such as
the Rotunda (Image 8), Statuary Hall (Image 9), the Statuary Hall Connector where they emersed
themselves in a large group confronting officers guarding the U.S House of Representatives
chambers (Image 10).




                                          Image 8




                                          Image 9




                                          Image 9
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                            Image 10
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        After the line of officers were overtaken, SCHULZE and ZEIS were captured standing
outside the outer chamber doors (Image 11). Here rioters chanted “BREAK IT DOWN!” referring
to the doors which lead to the chamber of the U.S. House of Representatives.




                                        Image 11




       SCHULZE and ZEIS were captured by CCTV in hallways between the House Chamber
and the Speaker’s Lobby (Image 12 and Image 13).
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                            Image 12




                            Image 13
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        SCHULZE and ZEIS eventually retraced their steps back throughout the Capitol stopping
in the Rotunda. ZEIS is seen, in an open-source video, joining a group who collectively pushed
officers. At 1:02:23 of the video 1, after shoving forward, ZEIS turned around and called out
“Justin.” Image 14. SCHULZE then joined the group pushing against the officers.




                                          Image 14




1
    https://archive.org/details/dNja7HbNLHztWGcbo
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      SCHULZE and ZEIS exited the U.S. Capitol on January 6, 2021, at 3:07 p.m. through the
same Rotunda Door as seen in Image 15 (green box).




                                          Image 15


       TIPSTER1 and TIPSTER 2 were shown a clean copy of Image 10. On July 20, 2021,
TIPSTER 1 identified ZEIS as the person on the right and SCHULZE as the person on the left.
TIPSTER 1 elaborated that SCHULZE was wearing the same red “Hawaiian Style” shirt when he
left the hotel on the morning of January 6, 2021, and when he returned to the hotel later that
evening.
    TIPSTER 2 has known both ZEIS and SCHULZE socially for many years. TIPSTER 2
commented that the two people in Image 10 are “for sure them” and elaborated that he/she meant
SCHULZE and ZEIS.
       TIPSTER 2 reported to the FBI that SCHULZE posted a story/video on Instagram on
January 6, 2021, that was titled “Storming the Capitol.” SCHUZE was wearing a jean jacket in
the Instagram post. TIPSTER 2 advised that the jean jacket that SCHULZE was wearing in the
Instagram post is the same jacket that he is wearing in Image 10.
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       TIPSTER 2 provided SCHULZE’s phone number as 937-422-79** 2. FBI investigation
shows that AT&T Corporation is the service provider for 937-422-79**.
        The FBI obtained and executed a search warrant to AT&T for phone number 937-422-
79** for the period January 1, 2021, to January 15, 2021. The responsive records provided by
AT&T confirmed that the subscriber of the phone number during this time was SCHULZE and
location data confirmed the phone was in the vicinity of the U.S. Capitol on January 6, 2021.
       Your affiant interviewed SCHULZE outside of his residence on July 21, 2022. SCHULZE
was cooperative throughout the interview and admitted to being inside the U.S. Capitol on January
6, 2021. SCHULZE was shown copies of images 6-10, 12-13, and 15 and confirmed he is the
person in the images. SCHULZE confirmed his phone number on January 6, 2021, was 937-422-
79** and that he had the phone with him inside the U.S. Capitol.
        Based on the foregoing, your affiant submits that there is probable cause to believe that
JUSTIN R. SCHULZE violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.
        Your affiant submits there is also probable cause to believe that JUSTIN R. SCHULZE
violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly
(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.
        Finally, your affiant submits there is probable cause to believe that JUSTIN R. SCHULZE
violated 18 U.S.C. 231(a)(3), which makes it unlawful to commit or attempt to commit any act to
obstruct, impede, or interfere with any fireman or law enforcement officer lawfully engaged in the
lawful performance of his official duties incident to and during the commission of a civil disorder
which in any way or degree obstructs, delays, or adversely affects commerce or the movement of
any article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.


2
 Your affiant has removed the last two digits of this telephone number for privacy purposes.
Your affiant knows the last two digits.
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                                                   _________________________________
                                                    John W. Smith
                                                    Special Agent FBI

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 7th day of November 2023.
                                                                     2023.11.07
                                                                     16:53:32 -05'00'
                                                    ___________________________________
                                                    ROBIN M. MERIWEATHER
                                                    U.S. MAGISTRATE JUDGE
